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                                               October 20, 2020


By ECF

Honorable Alvin K. Hellerstein
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

       Re:     SEC v. Kik Interactive Inc., Case No. 1:19-cv-5244 (AKH) (S.D.N.Y.)

Dear Judge Hellerstein:

        The parties, plaintiff United States Securities and Exchange Commission (“SEC”) and
defendant Kik Interactive Inc. (“Kik”), respectfully respond as follows to your Opinion and
Order On Motions For Summary Judgment, issued September 30, 2020 (ECF No. 88), which
instructs, in relevant part, that “[b]y October 20, 2020, the parties shall jointly submit a
proposed judgment for injunctive and monetary relief.”

        The parties have reached agreement on a proposed judgment, and file herewith a
Consent executed by Kik Interactive Inc. (Exhibit A) and a proposed Final Judgment (Exhibit
B). The proposed Final Judgment, if approved by the Court, would permanently enjoin Kik
from committing future violations of Section 5, pursuant to Section 20(b) of the Securities Act
of 1933, 15 U.S.C. § 77t(b); impose a conduct-based injunction, as set forth in the proposed
Final Judgment, under Section 21(d)(5) of the Securities Exchange Act of 1934, 15 U.S.C.
§ 78u(d)(5); and require Kik to pay a penalty of $5 million, pursuant to Section 20(d) of the
Securities Act, 15 U.S.C. § 77t(d). The proposed Final Judgment would conclude this action.

       Very truly yours,


/s/ David S. Mendel                                    /s/ Patrick E. Gibbs
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and Exchange Commission                      Interactive Inc.


cc:     All Counsel of Record (by ECF)




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